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                               UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT


POPTECH, L.P., et al,                        :       CIVIL ACTION
     Plaintiffs                              :       3:10-cv-00967 (MRK)
                                             :
     v.                                      :
STEWARDSHIP INVESTMENT                       :
ADVISORS, LLC, et al,                        :
     Defendants                              :       February 14, 2011

               MEMORANDUM OF LAW IN SUPPORT OF MOTION
             BY DEFENDANT STEWARDSHIP CREDIT ARBITRAGE
         FUND, LLC, TO DISMISS AMENDED CLASS ACTION COMPLAINT

       The plaintiffs claim that they were fraudulently induced to invest in defendant

Stewardship Credit Arbitrage Fund, LLC (the “Fund”). The initial Complaint, filed on June 18,

2010 by plaintiff Poptech, L.P., purported to assert various claims (Counts Seven through

Eleven) derivatively on behalf of the Fund against a number of individuals and entities who

allegedly defrauded and mismanaged the Fund. The Complaint also asserted a number of claims

(Counts One through Six) on behalf of a purported class of investors in the Fund. Presumably

recognizing that it could not simultaneously act both on the Fund’s behalf in pursuing the

derivative claims and also as the Fund’s adversary, Poptech did not name the Fund as a

defendant on any of the class claims.

       After defendants other than the Fund moved to dismiss the initial Complaint, Poptech –

now purportedly joined as plaintiff by two individuals – changed course in the Amended Class

Action Complaint filed on December 13, 2010. Without so much as a nod to the requirements of

Rule 23.1(c), Fed. R. Civ. P., Poptech unilaterally dropped the derivative claims it had asserted

on the Fund’s behalf and instead sued the Fund, naming it as a defendant on claims for securities

fraud under § 10(b) of the Securities Exchange Act of 1934, 15 U.S.C. § 78j(b), and Rule 10b-5
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promulgated thereunder, 17 CFR § 240.10b-5 (Count I), and under the Connecticut Uniform

Securities Act. Conn. Gen. Stat. § 36b-29 (Count III). Poptech has thus performed a shameless

180-degree turnabout from championing the Fund’s interests as a victim of the other defendants’

alleged fraud, as claimed in the initial Complaint, to suing the Fund as a co-perpetrator of that

very same supposed fraud in the Amended Complaint.

       The Fund has moved to dismiss the Amended Complaint pursuant to Rules 9(b), 12(b)(1)

and 12(b)(6), Fed. R. Civ. P., and the Private Securities Litigation Reform Act of 1995, 15

U.S.C. § 78u-4 (“PSLRA”), for lack of subject matter jurisdiction and failure to state a claim on

which relief can be granted. There is no subject matter jurisdiction because the plaintiffs lack

standing; the claims that they purport to assert directly are in fact derivative claims on behalf of

the Fund. Count I of the Amended Complaint fails to plead loss causation, reliance, fraud or

scienter with sufficient specificity to meet the enhanced pleading standards of Rule 9(b) and the

PSLRA. Finally, there is no basis for the exercise of supplemental jurisdiction over the state law

claim set forth in Count III.

       These issues are fully briefed in the memorandum of law filed today by defendants

Stewardship Investment Advisors, LLC, and Marlon Quan in support of their motion to dismiss.




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The Fund adopts and incorporates that memorandum in support of its motion. For all these

reasons, Counts I and III of the Amended Class Action Complaint should be dismissed as to the

Fund.



                                                  THE DEFENDANT,
                                                  STEWARDSHIP CREDIT
                                                  ARBITRAGE FUND, LLC

                                                  By: /s/ Frank J. Silvestri, Jr.
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                                        CERTIFICATION

         I hereby certify that on February 14, 2011, a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system or

by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic

Filing. Parties may access this filing through the Court’s CM/ECF System.


                                                       /s/ Frank J. Silvestri, Jr.
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